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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA

JENNIFER J. REINOEHL, )
PLAINTIFF )
v. ) Case No. 4.94-cv-01393-SEB-MG
DIEGO MORALES, in his )
individual and official capacity, )
DEFENDANT )

VERIFIED COMPLAINT

Comes now JENNIFER REINOEHEL (herein “Plaintiff” or “Reinoehl”), on behalf of
herself, pro se, and brings this Complaint for immediate injunctive and declaratory relief against
Diego Morales (collectively herein “Defendant’”) for supporting Indiana unequal ballot access
laws that do not ensure all candidates have a modicum of support and laws that promote

candidate confusion and failing to take adequate steps to protect the fundamental right to vote.

L PARTIES TO THE COMPLAINT

A. The Plaintiff
1. Jennifer J. Reinoehl resides at 51860 Cheryl Dr., Granger, St. Joseph County, IN, 46530

with phone number: 574-302-6088.
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B. The Defendant

2. Diego Morales is the Indiana Secretary of State, who does business at 200 W.
Washington St., Room 201, Indianapolis, (Marion County) IN 46204, and is being sued in his
individual and official capacity. As a constitutional officer and a member of the State’s executive

department, he is Indiana’s chief election official.

Il. BASIS FOR JURISDICTION AND VENUE

3. The U.S. District Court for the Southern District of Indiana has subject matter jurisdiction
over this action pursuant to 28 U.S.C. §1331, which provides Federal Courts have jurisdiction
over cases involving a federal question—U.S. Constitutional Rights granted under Article
Reinoehland Amendment 17 of the U.S. Constitution requiring a representative government
elected by the people, and 28 U.S.C. § 1367, and the Court may issue a declaratory judgement
and provide for further relief pursuant to 28 U.S.C. §§ 2201 and 2202.

4. This action is brought under 42 U.S.C.§1983 to redress a deprivation of rights secured by
the United States Constitution and its 1‘ and 14 Amendments that was committed by persons in
government employ under the color of state law.

5. The court has personal jurisdiction because Defendant Diego Morales is situated in and
conducting business in Indianapolis, IN which is located in the Southern District of Indiana.

6. Venue is proper because under 28 U.S. Code § 1391 Defendant, Diego Morales is located
in the Southern District of Indiana and is subject to the Court’s personal jurisdiction with respect
to this action.

7. An actual and justiciable controversy exists between the parties.

I. STATEMENTS OF FACTS

8. Herein, “ballot access” refers to having a candidate’s name pre-printed on the ballot and

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to write-in candidate status.

9. Jennifer Reinoehl is an independent voter who has voted in every election in which she
was able since she turned 18 years old.

10. To the best of her knowledge, she has never voted a straight ticket (i.e. solely for all
candidates of a single political party). She has voted for not only Democrats and Republicans,
but also for Libertarians, Green Party candidates, Constitution Party Candidates, and other third-
party candidates and independents and votes for members of completely different political
parties all on the same ballot.

11. | Due to unequal ballot access laws in Indiana, in which she is registered and allowed to
vote, she has repeatedly had to write-in the candidate she wishes to vote for in past Presidential
elections.

12. During this current, 2024 Presidential election, as in other previous elections, the
candidate of Reinoehl’s choice, Robert F. Kennedy, Jr., did not qualify for ballot access through
the primary process (which Republicans and Democrats qualify for in the state of Indiana) and
was required to get about 39,000 signatures throughout the state to get ballot access.

13. Unlike previous presidential elections, Jennifer Reinoehl volunteered to help Robert F.
Kennedy, Jr. get on the ballot here.

14. An independent presidential candidate in Indiana had from January 10, 2024 until July 1,
2024 to collect about 39,000 signatures to have his or her name pre-printed on the November
2024 General Election Ballot. However, unlike Democrat and Republican candidates who must
only list the presidential candidate’s name, independent candidates must list the name and
address of their vice-presidential candidate on each petition. Because Robert F. Kennedy, Jr. was

unable to find a vice-presidential candidate until March, petitioning in Indiana for him could not

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start until after that point.

15. Jennifer Reinoehl collected about 300 signatures herself by going door-to-door; standing
in the rain at meeting points to collect signatures, and sitting at fair booths in weather over 90
degrees Fahrenheit among other things.

16.  Reinoehl trained over 100 volunteers how to petition in Indiana. She informed them that
the Supreme Court had said they could petition on public sidewalks running parallel to public
streets and in parks. Everywhere else she told them to get permission and if permission was ever
revoked at any time, they needed to leave.

17. Reinoehl was frequently harassed on city sidewalks by government employees while
collecting signatures. Some, but not all, examples of this harassment follow.

18. —_ In Indianapolis, on March 29, 2024, Reinoehl was collecting signatures with some other
volunteers on the public sidewalk outside the Gainbridge Fieldhouse, 125 S Pennsylvania St,
Indianapolis, IN 46204, a sport stadium owned and operated by the city of Indianapolis. There is
a public park (based on the definition of “park” IN Code § 35-31.5-2-258 (2023) and IC 36-10-1-
2) next to the Gainbridge Fieldhouse which was open to the public at this time. One of the
volunteers wandered into the park to collect signatures. A police officer quickly went after him
and told him he could not collect signatures there. The same police officer told Reinoehl the
Gainbridge Fieldhouse and the public park next to it were private property.

19. The next day, March 30, 2024, Reinoehl returned to collect signatures at the same spot.
She had looked up who owned the Gainbridge Fieldhouse and discovered it was owned and
operated by the City of Indianapolis. This time the manager on duty came out on the sidewalk
and told Reinoehl to move to the sidewalk on the other side of the street. Reinoehl informed him

that this was a public sidewalk running parallel to a public road and cited Hague v. C.I.O., 307

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U.S. 496, 515-16 (1939) that supported her petitioning there. He then called someone. After
getting off the phone, he told Reinoehl she could petition there, and then he went over and talked
to the same police officer who had harassed her and other volunteers the day before. At no point
had she or any other volunteer blocked the entrance to the Gainbridge Fieldhouse nor did she get
in front of anyone or block anyone’s right to passage into or out of the Gainbridge Fieldhouse
nor did she block anyone’s passage along the sidewalk. Reinoehl could not find any local
ordinance against petitioning on sidewalks or in parks or against petitioning within a certain
distance from the Gainbridge Fieldhouse entrance.

20.  Reinoehl was petitioning outside the Mishawaka Library, 209 Lincolnway E, Mishawaka,
IN 46544, on May 6, 2024, on a public sidewalk that children were using to skateboard and ride
bicycles on (without entering the library) while she was there. At no point had she blocked the
library entrance nor did she get in front of anyone or block anyone’s right to passage into or out
of the library nor did she block anyone’s passage along the sidewalk. A librarian came out and
told her to leave.

21. At the time, she was collecting the signature of a Robert F. Kennedy, Jr. supporter. He
became upset that the library where he was a patron was denying the right to petition. As a result,
the librarian backed down and allowed Reinoehl to continue collecting signatures. Reinoehl
received a call from the head librarian the next day or so telling her she could not come back and
collect signatures outside the Mishawaka library in the future. Reinoehl could not find any local
ordinance against petitioning on sidewalks or against petitioning within a certain distance from
library entrances in the city of Mishawaka.

22. In Lafayette, Indiana, on May 7, 2024, on a public sidewalk outside the downtown branch

of the Tippecanoe Public Library, 627 South St, Lafayette, IN 47901, where homeless people

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were sleeping, congregating, and selecting free books that had been set out on a rack for anyone
to take whether or not they were library patrons, a librarian came out and told Reinoehl to leave.
At no point had Reinoehl blocked the library entrance nor did she get in front of anyone or block
anyone’s right to passage into or out of the library nor did she block anyone’s passage along the
sidewalk. She did collect a signature from one of the homeless people taking shelter from the
rain, who asked her what she was doing and then wanted to sign.

23. Reinoehl had posted online on several platforms that she would be there collecting
signatures, and it was a public sidewalk, therefore when the librarian asked that she collect
signatures elsewhere, she requested to talk with a police officer to settle the difference of
opinion. After calling the police on Reinoehl, a librarian came out and asked the single homeless
person who had remained after the storm to leave because the police were coming, and she did
not want the homeless person to get in trouble.

24. Two Lafayette police officers arrived and informed Reinoehl that this was a “private”
city sidewalk, and she was not allowed to petition there. He said he did not care what the
Supreme Court had said about her rights, but he would arrest her for trespassing and cited
Indiana Code 35-43-2-2. On a video recording she made and he consented to he continued to tell
her that he and the librarians were agents of the city of Lafayette, and she was not allowed to
collect signatures on any city property in Lafayette, Indiana. After shutting off the video, when it
sunk in what he was saying, she questioned if she could go down and collect signatures on the
sidewalk in front of the courthouse, she was told that she could, but he would be there in “about
five minutes” to remove her. She had to leave immediately, or she was told she would be
arrested.

25. Because she opted to leave, she missed collecting signatures from several people who

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later contacted her and told her they had been there but did not find her. These people told
Reinoehl that homeless people regularly congregate unopposed in the place where Reinoehl was
petitioning. Since she had been prohibited from collecting signatures in the city of Lafayette, she
could not and did not return to Lafayette to collect signatures. She also had other volunteers turn
in petitions there to the courthouse to prevent further trouble. Reinoehl could not find any local
ordinance against petitioning on sidewalks or against petitioning within a certain distance from
library entrances in the city of Lafayette. Based on what the police officer told her, Reinoehl is
uncertain if she can ever return to Lafayette to petition because she has been warned by an agent
of the city that she was trespassing on city property, and the Indiana trespassing law is vague on
this subject.

26. In Bloomington, at the downtown Monroe County Public Library, 303 E Kirkwood Ave,
Bloomington, IN 47408, on June 1, 2024, it was a rainy day when Reinoehl was collecting
signatures with other volunteers. The front of the library has a large overhang that covers some
of the public sidewalk. Many people were walking along this sidewalk and not using the library.
Reinoehl and the other volunteers were waiting for people to approach them to sign under the
overhang to keep the petitions dry. At no point had she or the other volunteers blocked the
library entrance nor did she or the other volunteers get in front of anyone or block anyone’s right
to passage into or out of the library nor did she or other volunteers block anyone’s passage along
the sidewalk.

27.  A-security guard for the library came out and told them they could not petition there.
Reinoehl informed him it was a public sidewalk, and they were not approaching patrons of the
library, specifically. They were primarily collecting signatures from people who showed up and

wanted to sign. The security guard went back inside the library, but then, Reinoehl decided to

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demonstrate how to approach people on the sidewalk (the sidewalk was extremely busy) to the
other volunteers. Reinoehl left the overhang, choosing a man carrying bags of food. He said he
was in a hurry or he would sign and, proceeded to go into the library. The security guard
immediately came out and accused Reinoehl of petitioning library patrons. Reinoehl explained
what she had been doing, that she was not under the overhang when she did it, and told the
security guard she had no way of knowing a person carrying bags of food was going into a
library. The security guard then went inside to call the police.

28. Instead of calling police, the head librarian came out and told Reinoehl she and the other
volunteers could stay there, but they could not stand under the awning or within six feet of the
library front because the library “owned” it, and it was private property. Reinoehl asked if this
was the county library, and when he agreed, she asked if the county owned the library. He
changed the subject by telling her that he was only doing what he had been told to do by the head
librarian and pointed to a crack in the sidewalk as a “line” that could not be crossed. He made
Reinoehl and her volunteers stand in the rain to collect signatures. Reinoehl could not find any
local ordinance against petitioning on sidewalks or against petitioning within a certain distance
from library entrances in the city of Bloomington.

29. On May 10, 2024, while on the sidewalk outside the Lake County Public Library, 1919
W. 81st Ave. Merrillville, IN 46410, Reinoehl and other volunteers were taking shelter under the
awning from the rain in between going out on the sidewalk to collect signatures. At no point had
she or other volunteers blocked the library entrance nor did she get in front of anyone or block
anyone’s right to passage into or out of the library nor did she block anyone’s passage along the
sidewalk. Again, a librarian came out and told her and her volunteers to leave. Reinoehl could

not find any local ordinance against petitioning on sidewalks or against petitioning within a

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certain distance from library entrances in Lake County.

30. ‘In addition to the harassment, the shortage of volunteers made it stressful and time-
consuming for those volunteering to collect signatures. For almost the entire month of June,
Reinoehl spent time on the road manning fair booths around the state with her 8-year old. She
only saw her husband for brief periods on Sundays. She personally witnessed people running on
Republican and Democrat tickets who wanted to sign the petition because they support Mr.
Kennedy, but who were prohibited from signing because their committee heads told them they
could not.

31. Some people supported Robert F. Kennedy, Jr., but refused to sign the petition because it
was a public document that told everyone they “desired to be able to vote” for Mr. Kennedy.
These fears were not unwarranted. In an act of voter intimidation, the Democratic Party in North
Carolina called everyone who signed petitions in North Carolina and tried to get them to revoke
their signatures.

32. Other people wanted Mr. Kennedy on the ballot and felt he had a Constitutional right to
be there, but could not sign the petition because Reinoehl pointed out they had to “desire to be
able to vote for him,” and they did not wish to vote for him at this point, but were keeping him in
mind as a second option.

33. Another group of people were extremely interested in a third option for president because
they did not want to vote for former President Donald Trump or current President Joe Biden.
They wanted to know more about Mr. Kennedy, but they could not sign because they were not
sure whether or not they would “desire to be able to vote” for him.

34. There was no shortage of people who wanted to sign. The shortage came in finding

enough volunteers who were able to collect the signatures and organizing in such a short time.

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For this reason, the campaign had to spend hundreds of thousands of dollars on paid petitioners
to help collect.

35. Although noon on July 1 was the final deadline to turn petitions in to the 92 county voter
registration offices, Reinoehl and others began turning them in June 13. On that day, Reinoehl
and other volunteers dropped off 15,000-20,000 signatures to Marion County Voter Registration.
When dropping off petitions, Reinoehl informed the voter registration clerks that more would be
coming.

36. On June 14, 2024, when Reinoehl dropped off a group of petitions to Hendricks County
Voter Registration, the clerk indicated she did not know what to do with them and had to look it
up. This was not the only county that Reinoehl and others found where no one in the office
seemed to know what to do with them.

37. On June 21, 2024, Rick from Marion County Voter Registration called Reinoehl and left
a voicemail for her to call him. When she called back, he stated that they were having problems
getting through all the petitions, but reassured her they would do it in time. He wanted to know
how many more petitions they were planning on turning in. Reinoehl stated they should expect at
least one more round of equal or greater numbers. He expressed concern about having enough
staff to sort through them and stated he may have to pull from other places. Reinoehl informed
him that they were dropping off signatures all over Indiana to many counties.

38. During that call, Rick stated that 60% of the signatures were being denied because they
were “illegible.” This concerned Reinoehl since that was not the case in the rest of the state. She
was also worried that they (1) would not get enough signatures because that was a high number
to refuse to be able to check; (2) they were deeming them illegible because that helped them get

through the signatures faster; and (3) the campaign would not have enough time to challenge

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them if they needed the signatures because Marion County was having a difficult time going
through them.

39. On June 26, 2024, Reinoehl and other volunteers sorted through 37,000 petitions in the
lobby of the Sheraton City Center. As they are supporting an independent candidate who
according to FEC rules could collect no more than $6,600 from any single donor at the time
(candidates for the Republican and Democrat parties are allowed to collect $150,000+ from each
donor), there was not a headquarters or office anywhere in Indiana. At about 2:00 AM the next
day, Reinoehl took off on about a 700 mile journey around the state to deliver stacks of petitions
to other volunteers throughout the state so they could then take them to almost all of the 92 voter
registration areas over the next couple days and do a trial run of the turn-in process on Monday,
July 1, 2024.

40. On June 27", a volunteer who had dropped off petitions to the Allen County voter
registration office called Reinoehl distressed. A county representative told her that we were
turning in too many and that Allen county would not accept any more. Reinoehl called the
Secretary of State’s office, who told her that the campaign could turn them into any county and
that they could turn in as many as they wanted to turn in to whichever counties they wanted.
Reinoehl asked the Secretary of State’s office to contact Allen county and ensure that when they
turned the final round in on July 1, 2024, they would be accepted.

41. Reinoehl and others continued collecting signatures up until June 30, 2024, and on that
same day, Reinoehl went to Indianapolis again, collected packs of petitions, and delivered them
overnight to volunteers throughout the state.

42. On July 1, 2024, a few counties where petitions were collected were unable to be reached

before noon. Reinoehl also continued receiving more petitions by mail after this time from

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volunteers who could not get them to drop off points in time or take them to the courthouses
themselves.

43. Clerks told Reinoehl by Indiana law they had 10 business days to finish the validation
process. From July 1 to July 15 is 10 business days (because of July 4) and the validated
petitions must be picked up at the counties and turned in by noon on July 15 to the Secretary of
State in one bundle.

44. On or about July 4, 2024, Reinoehl went to the St. Joseph County Voter Registration to
pick up one bundle of validated petitions after they had called her to come get them. The clerks
stated they were working overtime and putting all their other jobs on hold so they could validate
the signatures in a timely manner. When Reinoehl asked what would have happened if three
independent candidates had turned in the same amount of signatures, the clerks responded that
there is no way they could have gotten all of them done. St. Joseph County finished validating
the last of Robert F. Kennedy, Jr.’s signatures July 10.

45. | Marion County struggled even more with finishing the number of signatures they were
given. The campaign was not able to pick them up until Sunday, July 14, 2024. This is less than
24 hours before they were due in the State Voter Registration office, which is located in a
different building several blocks away. There was no time to review any of the signatures
marked illegible and challenge them.

46. The Robert F. Kennedy, Jr. campaign turned in about 100,000 signatures to county clerks
throughout the state. Of those, only about 43,000 were validated—barely giving us the minimum
required. That number of signatures, which the counties were struggling to validate in time, was
necessary to meet the minimum.

47.  Reinoehl personally looked through many of the petitions after they had been validated.

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A few signatures were denied because the person signing had put the date they signed instead of
their birthdate on the petition. Although she was unable to examine Marion County’s validated
petitions, being illegible was marked on only a few signatures with the thousand or so she was
able to examine from other counties throughout the state. A few were not registered at all. The
biggest reason voters were not validated was because they had moved at some point and either
put an old address (while being registered at the new address) or put the new address before they
transferred their registration. In most of the counties Reinoehl was able to review, about 75% of
the signatures were validated.

48. The process for Robert F. Kennedy, Jr. is, unfortunately, not yet finished even though the
Secretary of State has granted him ballot access. The Democrats and Republicans now have until
the end of August to challenge his ballot access and drag him through another lengthy court
process.

49. This is the process an independent candidate had to follow. Jill Stein was also collecting
signatures in Indiana, my volunteers reported running into her petitioners, I ran into one of her
volunteers dropping petitions off to the Porter County Voter Registration, and Allen county
mentioned that her campaign had not brought as many signatures as us. Her campaign did not get
enough validated signatures to get on the ballot.

50. In REINOEHL v. MERRILL, 1:22-cv-01974 (2022), this Court dismissed the case on
grounds that the above process (which Reinoehl herself was unaware of and unable to inform the
court about at that time—unfortunately) was equal to the one below for Democrats and
Republicans. However, it did not review the substitution law at that time because Reinoehl was
unaware of it and did not challenge it at the time.

51. In contrast to what an independent candidate has to do to get on the ballot, under Indiana

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Code Title 3, Democrats running for President and seeking ballot access, such as Kamala Harris,
had to file all petitions of nomination with at least 4,500 signatures with 500 from each of the
nine Indiana Congressional districts by noon on January 30, 2024, with the county voter
registration offices where the petition signers reside. Kamala Harris failed to meet this deadline
and filed no petitions of nomination with any county voter registration office in Indiana for the
validation of signatures. Further, Kamala Harris’ name was not on any of the petitions filed by
the other Democrats who were running for president, including but not limited to the petitions
filed by President Joe Biden.

52. | Democrats running for President and seeking ballot access, such as Kamala Harris, had to
collect the petitions from the county voter registration offices after they have been validated and
file at least 4,500 validated signatures (500 from each Congressional district) by noon on
February 9, 2024, with the state election office in Indianapolis along with their declaration of
candidacy for a major political party primary nomination. Kamala Harris failed to meet this
deadline and filed no petitions of nomination with the state election office. Further, Kamala
Harris’ name was not on any of the petitions filed by the other Democrats who were running for
president, including but not limited to the petitions filed by President Joe Biden.

53. No later than noon, February 22, 2024, presidential primary candidates, such as Joe
Biden, were supposed to file a withdrawal from the primary election. Joe Biden did not file a
withdrawal and ran in the Indiana primary election unopposed as a potential Democratic
presidential candidate, which he won.

54. On June 27, 2024, a debate between former President Donald Trump and President Joe
Biden took place on the television network CNN. In this debate, it was generally reported that

President Joe Biden performed poorly.

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55. No later than noon July 3, 2024, was the deadline for Democrats to fill a vacancy on the
general election ballot if no candidate was nominated. It was also the deadline for write-in
candidates to file their declaration of intent. Joe Biden had not withdrawn from the race by this
time, there was no vacancy to fill, and the Democrats did not file paperwork to fill a vacancy for
presidential candidate by this deadline. Kamala Harris did not file a declaration of intent to run
as a write-in candidate at this time.

56. It was not until July 21, 2024, after pressure from Democrat donors, that Joe Biden
withdrew from the presidential election and subsequently endorsed Kamala Harris as his
replacement.

57. The Democrats rewrote their rules for nominating candidates and instead of nominating a
candidate at the Democratic National Convention on August 19, 2024, instead “nominated” her
during a “virtual roll call” August 6", 2024. The state of Ohio had previously informed the
Democrats that this would not be an acceptable means of nominating a candidate for ballot
access in its state. Like the primary election where only Joe Biden was allowed to run, the
Democratic National Convention will only be a false pretense since the candidate has already

been chosen through this means that is not mentioned anywhere in Indiana state law.

IV. ARGUMENT

58. | Any number of Democrat candidates can run in the presidential primaries in Indiana. In
2020, the Democrats had five candidates who qualified for the primaries. Running multiple
candidates in the presidential primaries ensures that if the lead candidate drops out of the race for
any reason prior to the Democratic National Convention, he or she can easily be replaced by the
runner up. It also ensures the process is “equally burdensome” to that which an independent must

follow. (Jenness, 1971)

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59. This year, however, the Democrats discouraged anyone else except Joe Biden from
running. They refused to hold a debate between any of the candidates who wanted to run.
https://www.pbs.org/newshour/politics/robert-f-kennedy-jr-drops-his-democratic-primary-bid-
will-run-as-an-independent By doing this, and by encouraging Joe Biden to withdraw after
major party donors disliked his performance in the Presidential debate, they have forfeited their
right to ballot access for a presidential candidate.

60. In Jenness v. Fortson, 403 U.S. 431 (1971) the Court stated, “Although the number of
candidates in a party primary election for any particular office will, of course, vary from election
to election. ..in the most recent election year, there were 12 candidates for the nomination for the
office...Only two of these 12, of course, won their party primaries and had their names printed
on the ballot at the general election... The fact is, of course, that...alternative routes are available
to getting his name printed on the ballot. He may enter the primary of a political party, or he may
circulate nominating petitions either as an independent candidate...We cannot see how Georgia
has violated the Equal Protection Clause of the Fourteenth Amendment by making available
these two alternative paths, neither of which can be assumed to be inherently more burdensome
than the other.” [emphasis added]

61. This year, Joe Biden was the only candidate on the Indiana Democrat Primary Ballot and
therefore, guaranteed to win. His own ballot access journey was inherently less burdensome than
that of Robert F. Kennedy, Jr. and only required collecting 500 signatures in each of the nine
congressional districts.

62. Further, the Indiana substitution laws allow a candidate for the Republican and Democrat
parties to forego the entire primary process and automatically receive ballot access simply

because they are being “substituted” for another candidate who has withdrawn. This

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“substitution” can occur at any time prior to the General Election. This is much less burdensome
than the process Robert F. Kennedy, Jr. had to go through to get on the ballot in Indiana. It is
also less burdensome than the process Joe Biden went through.

63. The State of Indiana responded to a CNN survey that it would allow Kamala Harris to be
substituted on the ballot in the November General Election for Joe Biden even though she has

not undergone any part of the primary process. .

64. Without a democratic candidate on the ballot, Indiana will still have the choice of
multiple other candidates for president, including the Republican candidate, Donald Trump, the
Libertarian candidate, Chase Oliver, the Green Party Candidate (as a write-in), Jill Stein, and
independent, Robert F. Kennedy, Jr.

65. | The Equal Protection Clause of the Fourteenth Amendment of the United States
Constitution guarantees “equal protection of the laws.”

66. By allowing an overly broad substitution of one candidate with another because of a poor
debate performance that triggered pressure from those primarily financing the Democrat party,
the state of Indiana allows Republicans and Democrats to place anyone on the ballot without
undergoing any burdensome process.

67. On the contrary, voters who support independent candidates have to go through the
difficult and arduous task of collecting almost 100,000 signatures while being harassed by
government employees, then turning them into all the 92 counties prior to the deadlines while
hoping no other independents have done the same so the verification process can be completed in
time for them to collect them and then turn them into the Secretary of State.

68. As an independent who votes across parties in every election and bases her vote solely on

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the candidate’s platform and past voting or civic history, Reinoehl and others similarly situated
are having their rights violated. If, for example, the Kennedy Campaign had Joe Rogan running
for office with Laura Ingram as his vice-president—collecting signatures from January 10, 2024,
to March 26, 2024 and then substituted Robert F. Kennedy, Jr. and Nicole Shanahan at that time
because Rogan and Ingraham “withdrew,” the process of getting Kennedy on the ballot would
have been much easier since most people in Indiana are familiar with Rogan and Ingraham and
already know who they are.

69. It is arbitrary and capricious when there are different requirements for Republican and
Democrat candidates than what there are for independent candidates.

70. Allowing substitution of one candidate for any other person, including those who have
not undergone the primary process, serves no purpose other than ensuring Republicans and
Democrats always get ballot representation. It makes it easier for Republicans and Democrats to
change candidates whenever they feel they cannot win against the opposition and place someone
new in, who voters know nothing about and who can be promoted in any way since voters will
not have enough time before the election to objectively learn about him or her.

71. Further, replacing an incumbent presidential candidate with the incumbent vice-president
can confuse voters. They may believe they are actually voting for the candidate who has
withdrawn since that is the candidate currently in the position, since s/he has not resigned from
the position, since s/he has run for seven months as the person who is going to be in that
position, and since the vice-president was his/her running mate.

72. The Democrats repeatedly stated they were running Joe Biden for president. They stifled
any competition against him in primaries. They did not change this position until wealthy donors

threatened to withdraw funding.

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73. It has been argued and upheld that a state "...surely [has] an important state interest in
requiring some preliminary showing of a significant modicum of support before printing the
name of a political organization's candidate on the ballot..." (Jenness, 1971) but this interest is
true of members of the Republican and Democrat parties as well as for other parties and
independent candidates.

74. In this case, the Democrat Party ran one candidate—thereby guaranteeing that specific
candidate’s nomination and then substituted another candidate for that one. The primary itself
was no longer a competition, but simply a false pretense. If the laws require an arduous process
for independent candidates, as they do in Indiana, it is important that the Republicans and
Democrats candidates are held at a minimum to the primary process the Supreme Court deemed
equal to the process independent candidates must go through to obtain ballot access. (Jenness,
1971)

75. Indiana can determine its own Federal Election ballot access laws, but those laws cannot
differ depending on whether the candidate is the member of a “recognized party” (i.e.
Republican or Democrat) or not. In this case, Indiana allows substituting candidates only for

Republicans and Democrats and does not allow Independents the same option.

Vv. CAUSES OF ACTION

76. This lawsuit challenges the Indiana laws allowing Republicans and Democrats to
“substitute” any candidate for another candidate at any time during the election process and asks
the court prevent Kamala Harris from getting ballot access without any burden on her by being

substituted for candidate Joe Biden.

COUNT I: VIOLATION OF THE EQUAL PROTECTION CLAUSE OF
THE FOURTEENTH AMENDMENT

77. All preceding paragraphs are incorporated herein.

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78. Defendant gives preferential treatment to Republicans and Democrats by always allowing
them to substitute one candidate for another at any time during the election process while
prohibiting Independent candidates from doing so.

79. By allowing any Republican and Democrat candidate to skip the Indiana ballot access
pathway, they do not ensure that candidate has obtained a modicum of support.

80. By allowing Kamala Harris to be inserted for Joe Biden when Joe Biden has officially
run as the presidential candidate for 7 months and only 3 months are left when this switch is
being made creates voter confusion.

81. By allowing Republican and Democrat candidates to skip the state ballot access pathway
for any candidate at any time constitutes disparate treatment.

82. ‘This disparate treatment imposes serious burdens on Reinoehl’s (and others similarly
situated} Constitutional Right to vote for a representational government by requiring her to go
through a burdensome process to get her candidate on the ballot while permitting Democrats and
Republicans to put anyone on the ballot at any time without going through any Supreme Court
approved equal process.

83. This disparate treatment imposes serious burdens on Reinoehl’s (and others similarly
situated) First Amendment rights of association by prohibiting her and others like her from
replacing their candidate of choice with anyone else simply because the candidate does poorly in
a debate, but allowing Democrats and Republicans to replace candidates who withdraw with any
candidate, inchiding those like Kamala Harris, who were not running in the primaries and who
did not make a show of any support im Indiana.

84. ‘This disparate treatment imposes serious burdens on Reinoehl’s (and others similarly

situated) Fourteenth Amendment rights.

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85. Any legitimate interest the Defendant may have in ensuring independent candidates that
are pre-printed on the ballots have a “modicum of support” equally applies to ensuring
Republican and Democrat candidates have that same “modicum of support.”

86. Any legitimate interest the Defendant may have in ensuring independent candidates that
are pre-printed on the ballots do not create voter confusion equally applies to ensuring
Republican and Democrat candidates also do not create voter confusion.

87. | Defendant’s actions therefore violate the Equal Protection Clause of the Fourteenth
Amendment by allowing a substitution at this late in the Election Process of a Democrat
candidate who has (1) not gone through the petitioning requirement nor met the petitioning
deadlines for Democrat candidates; (2) not gone through the primary process in Indiana or any
other state; (3) not been elected at the Democratic National Convention based on the results of
those state primaries.

COUNT I: DECLARATORY JUDGEMENT

88. All preceding paragraphs are incorporated herein.

89. Plaintiff is an interested party seeking declaration of her rights under 28 U.S.C. §2201
because unequal ballot access has functioned to deprive Plaintiff of her fundamental rights and
caused injuries and damages.

90. An actual controversy of judiciable nature has arisen and now exists between Reinoehl
and the Defendant concerning their respective rights and legal obligations under the Constitution.
91. There is no adequate remedy, other than that requested herein, by which this controversy
may be resolved.

92. A declaration is necessary and appropriate at this time in order that each of the parties

may know their respective rights, status, legal relations, and duties and act accordingly.

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93. The Court should make declarations about Defendant’s obligations under the
Constitution, including but not limited to the following:

a. Established Parties, such as the Republican and Democrat Party, cannot be
exempted from ballot access laws that independent candidates are subject to and
obtain ballot access by “substituting” one candidate for another candidate

b. Defendant must not allow Kamala Harris on the November General Election
Ballot because she has not gone through the primary process in Indiana and the
process she has gone through is much less burdensome than the one Robert F.
Kennedy, Jr. had to follow.

94. — Reinoehl is entitled to a declaratory judgment against Defendant.
95. In addition to the declaratory judgments sought herein, Plaintiff seeks further necessary
or proper prospective relief as justice may require.

COUNT Hil: REQUEST FOR INJUNCTIVE RELIEF

96. All preceding paragraphs are incorporated herein.

97. Absent injunctive relief, Reinoehl others similarly situated will suffer irreparable harm in
that they will have to continue to undergo burdensome processes to get specific candidates on the
ballot while Democrats and Republicans can simply substitute others in as desired without
having them go through any burdensome process.

98. Legal remedies are inadequate to address the states’ continuing violation of the U.S.
Constitution.

99. __ Reinoehl is likely to prevail on the merits because Defendant’s conduct contravenes the
U.S. Constitution, the 1‘ and 14 Amendments and it is in the public’s interests to ensure

protection of rights under the Equal Protection Clause of the United States Constitution.

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100. The balance of interests weighs strongly in favor of equal ballot access for all candidates.
Granting injunctive relief would cause no harm to the state, which would be required to do
nothing more than to fulfill its statutory duty by ensuring all candidates have a modicum of
support and must adhere to some burdensome process before giving them ballot access.

101. Reinoehl is entitled to injunctive relief.

VI. PRAYER FOR RELIEF

WHEREFORE, Reinoehl respectfully requests that this Court enter judgment against Defendant
jointly and severally as follows:

A. Declare that Defendant’s actions as set forth herein were in violation of the U.S. Constitution
and deprived Plaintiff of her rights, immunities, and privileges afforded thereunder;

B. Declare that the U.S. Constitution preempts any state law, rule, regulation, or policy that state
officials rely on for exempting certain political parties from following the ballot access
procedures, in this case petitioning, primaries, and election by convention.

C. Declare that allowing the Democrats to substitute any candidate for another candidate at any
time is a violation of the Equal Protection Clause of the United States Constitution;

D. Permanently enjoin Defendant from allowing any political party to be pre-printed on the
ballot unless the candidate for that party has followed all the burdensome requirements state law
requires for ballot access;

E. Strike down Indiana State laws that allow the substitution of one candidate for another;

F, Prohibit Kamala Harris, and/or any other candidate who has not run in the primaries, from
obtaining ballot access in the 2024 election;

F, Award Plaintiff her actual costs, damages, expenses, and reparations incurred in pursuing this

action as authorized by 42 U.S.C. § 1988 and other applicable provisions; and

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G. Grant any and all other and further relief as the Court deems just and proper.

Respectfully submitted this 13 day of August, 2024,

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Verification.

I, the undersigned, hereby swear or affirm, under penalties of perjury that the foregoing

statements are true.

Dated August 13, 2024

Respectfully submitted, -

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